Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 1 of 8




                                        EXHIBIT 6
           Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 2 of 8




 Joint Ex. #    Previously    Description                                  Bates/Doc       Previously
                Identified                                                 Identifier      Identified
                State Ex. #                                                                Plaintiff Ex. #
 1              STATE 001     Signed and executed copy Senate Bill 1.                      DOJ 001,
                              h ps://webservices.sos.state.tx.us/legbils                   LULAC-001
                              /files/C287/SB1.pdf.
 2              STATE 014     Elec on Advisory No. 2021-21, Re:            STATE001483     HAUL-MFV
                              Legisla ve Summary – and Third Second                        290
                              Special Sessions, dated November 19,
                              2021.
 3              STATE 016     Elec on Advisory No. 2022-07, Re: NEW        STATE001577     HAUL-MFV
                              LAW: Changes to Early Vo ng by Personal                      294, LULAC-
                              Appearance – House Bill 2025, House Bill                     053
                              3107, and Senate Bill 1, dated January 21,
                              2022
 4              STATE 017     Elec on Advisory No. 2022-08, Re: NEW        STATE034294     DOJ 101,
                              LAW: Senate Bill 1 – to Opportunity                          HAUL-MFV
                              Correct Defects on Applica on for a Ballot                   384, OCAPX-
                              by Mail and Carrier dated Envelope,                          294, OCAPX-
                              November 19, 2021.                                           319
 5              STATE 018     Elec on Advisory No. 2022-09, NEW            STATE060559;    HAUL-MFV
                              LAW: Changes to Watcher Poll                 Cameron         295, LULAC-
                              Requirements Under House Bill 3107 and       County Depo.    056, LUPE-
                              Senate Bill 1, dated February 4, 2022.       (Garza          232
                                                                           5.9.22), Exh.
                                                                           No. 15
 6              STATE 019     Elec on Advisory No. 2022-12, Re:            STATE001469     DOJ 102,
                              Addi onal Procedures Regarding                               HAUL-MFV
                              Correc on of Defects on Applica on for                       292
                              Ballot by Mail dated or Carrier Envelope,
                              February 11, 2022.
 7              STATE 020     Elec on Advisory No. 2022-18, Re:            STATE087955     DOJ 103,
                              Addi onal Ballot by Mail for Procedures                      HAUL-MFV
                              May Uniform Elec on and Primary Runoﬀ                        291
                              Elec on, dated April 26, 2022.


 8              STATE 022     Spreadsheet created by Secretary of State    STATE115581     DOJ 120,
                              in                                                           OCAPX-42
                              response to media inquiries, lis ng mail-
                              ballot rates for rejec on 2022 elec ons.
 9              STATE 025     Harris County Post Elec on Assessment of     STATE170230     DOJ 135
                              the November 8, 2022, General Elec on.




120776374.1 0099831-00001
           Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 3 of 8




 Joint Ex. #    Previously    Description                                 Bates/Doc       Previously
                Identified                                                Identifier      Identified
                State Ex. #                                                               Plaintiff Ex. #
 10             STATE 026     Handbook for Elec on Judges and Clerks,     STATE110976     DOJ 096
                              Qualifying Voters on Elec on Day 2022,
                              Secretary State, of revised July 2022.


 11             STATE 027     Handbook for Elec on Judges and Clerks,     Exhibit 17 -    DOJ 093
                              Early Vo ng Ballot Board & Signature        February 28,
                              Verifica on Commi ee, Secretary of          2023, Dep. of
                              State,                                      Jacquelyn
                              revised July 2022.                          Callanen
 12             STATE 028     Poll Watcher’s Guide, Secretary of State,   STATE106313     HAUL-MFV
                              revised January 2022.                                       268
 13             STATE 029     SOS Poll Watcher Online Training (Dra ),    STATE035175     LUPE 113
                              January 2022
 14             STATE 030     Texas Voter Registra on Applica on          STATE046251     DOJ 048
                              Spanish
 15             STATE 031     Texas Voter Registra on Applica on          STATE046253     DOJ 050
                              English
 16             STATE 038     Form 5-21, Ballot Envelope For Secrecy,     STATE061390     DOJ 018
                              January 2022.
 17             STATE 039     Form 6-2, No ce of Rejected Applica on      STATE031641     DOJ 019
                              for Ballot by Mail, January 2022.

 18             STATE 040     No ce of Rejected Applica on for Ballot     STATE031643     LUPE-191,
                              by Mail – Ingram April 26, 2022, Depo Ex.                   HAUL-MFV
                              10                                                          382, DOJ 020
 19             STATE 041     Form 6-4, No ce of Rejected Applica on      STATE074329     DOJ 021
                              for Ballot by Mail - Required Personal
                              Iden fica on Number is Not Associated
                              with Your Voter Record, January 2022.


 20             STATE 042     Form 6-6, Request to Cancel Applica on      STATE091410     DOJ 022
                              for Ballot by Mail – Early Vo ng Clerk’s
                              Form, January 2022.
 21             STATE 044     Form 6-11, EVC No ce of Carrier Defect      STATE123307     DOJ 024
                              Mailed with Correc ve Ac on Form
                              English, April 2022.
 22             STATE 046     Form 6-12, EVC No ce of Carrier Defect      STATE123313     DOJ 025
                              Phone with Correc ve Form Ac on
                              English, April 2022.




120776374.1 0099831-00001
           Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 4 of 8




 Joint Ex. #    Previously    Description                                 Bates/Doc     Previously
                Identified                                                Identifier    Identified
                State Ex. #                                                             Plaintiff Ex. #
 23             STATE 047     Form 6-13, No ce of Surrendered Ballot      STATE034285   DOJ 026
                              by
                              Mail, January 2022.
 24             STATE 048     Form 6-14, Correc ve Ac on Form for         STATE034286   DOJ 027
                              Defec ve Carrier Envelope, January 2022.

 25             STATE 049     Form 6-15, Carrier Envelope for Early       STATE138768   DOJ 028,
                              Vo ng July 2022. Ballot regular ABBM,                     HAUL-MFV
                                                                                        297

 26             STATE 050     Form 6-17, Informa on about Returning       STATE074293   DOJ 033
                              Your Carrier Envelope, January 2022.

 27             STATE 051     Form 6-35, Notes for Carrier Envelope       STATE01634    DOJ 037
                              FPCA, January 2022.
 28             STATE 052     Form 6-36, Informa on about Returning       STATE031652   DOJ 038
                              Your Voted Mail Ballot FPCA Insert,
                              January 2022.
 29             STATE 053     Form 6-37, Oﬃcial Elec on Signature         STATE001643   DOJ 040,
                              Sheet for an FPCA Voter, December 2021                    HAUL-MFV
                              English/Spanish.                                          380
                                                                                        (STATE04005
                                                                                        3)
 30             STATE 057     Form 8-15, No ce of Rejected Ballot,        STATE152170   DOJ 042
                              January 2022.
 31             STATE 058     Form 8-20, Roster of Voters with Defec ve   STATE034287   DOJ 043
                              Carrier Envelopes – Returned to the Voter
                              by Mail, January 2022.
 32             STATE 059     Form 8-21, Roster of ABM Voters with        STATE034288   DOJ 044
                              Defec ve Carrier Envelopes – No fied by
                              Phone or Email, January 2022.


 33             STATE 060     Form 8-22, Roster of FPCA Voters with       STATE034289   DOJ 045
                              Defec ve Carrier Envelopes – No fied by
                              Phone or Email, January 2022.


 34             STATE 061     Form 8-23, No ce of Carrier Defect –        STATE034290   DOJ 046
                              Carrier Envelope Returned to the Voter by
                              Mail, January 2022.




120776374.1 0099831-00001
           Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 5 of 8




 Joint Ex. #    Previously    Description                                   Bates/Doc     Previously
                Identified                                                  Identifier    Identified
                State Ex. #                                                               Plaintiff Ex. #
 35             STATE 062     Form 8-24, No ce of Carrier Defect – Vote     STATE034292   DOJ 047
                              No fied of Carrier Envelope Defect by
                              Phone Email, or January 2022.


 36             STATE 068     Carrier Envelope Insert u lized by Denton     STATE154278   DOJ 053
                              County to remind voters ID number of
                              requirement.
 37             STATE 069     Carrier Envelope Insert u lized by Travis     064.134768    DOJ 057
                              County to remind voters ID number of
                              requirement.
 38             STATE 070     Carrier Envelope Insert u lized by Travis     064.134775    DOJ 057,
                              County to remind voters of ID number                        OCAPX-265
                              requirement.
 39             STATE 072     ABBM Insert with Numbers u lized by           064.134773–   OCAPX-264
                              Travis County to remind voters of ID          74
                              number requirement
 40             STATE 075,    Carrier Envelope Insert u lized by Harris     Tatum_00533   HAUL-MFV
                STATE 076     County to remind voters of ID number          7-            092, LUPE-
                              requirement                                   TATUM_0053    251, OCAPX-
                                                                            38            063, OCAPX-
                                                                                          463
 41             STATE 077     Carrier Envelope Insert u lized by Bexar                    DOJ 052
                              County in the May 7, 2022, Local Elec on
                              and May 24, 2022, Runoﬀ to Primary
                              remind voters of ID number requirement.
                              Exhibit C – April 20, 2022, Dep. of
                              Jacquelyn Callanan.

 42             STATE 080     Carrier Envelope Insert u lized by Kleberg    STATE142722   DOJ 054
                              County to remind voters of ID number
                              requirement.
 43             STATE 089     Power Point Presenta on, Elec on              STATE054622   DOJ 340,
                              Integrity.                                                  LUPE-131,
                                                                                          OCAPX-308,
                                                                                          OCAPX-312
 44             STATE 148     Travis County, Press Release, Travis County   STATE098419   LUPE-147
                              Candidate Se les with Travis County
                              Clerk, November 2020
 45             STATE 168     OAG Spreadsheet, Elec on Fraud                STATE107717   LUPE-153,
                              Complaints Referred for Inves ga on, SOS                    OCAPX-379
                              Referrals, April 2022
 46             STATE 188     2022-2023 Vo ng Assistance Guide, Texas.      STATE115176   DOJ 104



120776374.1 0099831-00001
           Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 6 of 8




 Joint Ex. #    Previously    Description                                   Bates/Doc     Previously
                Identified                                                  Identifier    Identified
                State Ex. #                                                               Plaintiff Ex. #
 47             STATE 195     Enrolled version of House Bill 357. An Act    STATE182637   DOJ 007
                              Rela ng to the Requirements to Access
                              the
                              Online Tracker of an Applica on for a
                              Ballot to be Voted by Mail and to the Date
                              of Runoﬀ Elec ons, H.B. 357, 88th Leg.,
                              R.S. 2023.
 48             STATE 197     Enrolled version of Senate Bill 1599. An      STATE182732   DOJ 006
                              Act Related to Ballots Voted by Mail, S.B.
                              1599, 88th Leg., R.S. 2023
 49             STATE 199     Enrolled version of Senate Bill 975. An Act   STATE182805   DOJ 009
                              Rela ng to the Procedures for the
                              Issuance
                              of a Personal Iden fica on Cer ficate to a
                              Person Whose Driver’s License is
                              Surrendered, S.B. 975, 88th Leg., R.S.
                              2023.
 50             STATE 203     Elec on Advisory No. 2022-02,                 STATE124074   DOJ 099
                              Instruc ons and Deadlines for
                              Mailing/Emailing Ballots Under the
                              Federal “MOVE Act” for Overseas
                              Voters, January dated 10, 2022.
 51             STATE 212     Form 5-16, Applica on for Emergency           STATE138843   DOJ 016
                              Early Vo ng Ballot due to Death in the
                              Family , 2022. January.
 52             STATE 213     Form 5-18, Applica on for Emergency           STATE138169   DOJ 017
                              Early Ballot Due Vo ng or to Sickness
                              Physical Disability, 2022 January.
 53             STATE 217     Form 6-15, Carrier Envelope for Early         STATE123087   DOJ 029
                              Vo ng Ballot, May 2022.
 54             STATE 221     February 1, 2022, Email from Elec ons         STATE04893    DOJ 234
                              Division A orney and Melanie Best
                              Chris na Obermiller, of Department
                              Defense, Federal Vo ng Assistance
                              Program, Re: FPCA ID Ques on –
                              FVAP/Obermiller.

 55             STATE 222     April 19, 2022, Mass Email from Elec ons      STATE123303   DOJ 278
                              Division A orney Heidi Mar nez to
                              Elec on Oﬃcials, Re: Release Forms
                              4/19/2022.




120776374.1 0099831-00001
           Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 7 of 8




 Joint Ex. #    Previously    Description                                   Bates/Doc     Previously
                Identified                                                  Identifier    Identified
                State Ex. #                                                               Plaintiff Ex. #
 56             STATE 225     Email from SOS Elec ons Internet to           STATE138776   LUPE-168
                              Elec ons Oﬃcials, September 2022
 57             STATE 227     Request for Proposal, Voter Educa on and      STATE137757   DOJ 115
                              Outreach Opportuni es for Elec ons,
                              2022
                              Secretary of State.
 58             STATE 228     Report to the 88th Legislature on the         STATE137752   DOJ 012,
                              Implementa on of Educa onal Programs                        OCA-305
                              to Help Voters with Disabili es
                              Understand How to Use Vo ng Systems
                              Used in the State of Texas.
 59             STATE 230     October 12, 2022, Press Release, SOS 101:     STATE119692   DOJ 335,
                              Vo ng by Mail in Texas, Texas Secretary of                  OCAPX-303
                              State Press Oﬃce.
 60             STATE 231     September 20, 2022, Press Release,            STATE120634   DOJ 334
                              Secretary Sco Marks Na onal Voter
                              Registra on Day, Highlights Statewide
                              ‘VoteReady’ Voter Educa on Campaign,
                              Texas Secretary of State Press Oﬃce.
 61             STATE 238     Handbook for Elec on Judges and Clerks,       STATE034699   DOJ 095
                              Qualifying Voters on Elec on Day 2022,
                              Secretary State, revised of January 2022.
 62             STATE 244     Power Point Presenta on, Communica ng         STATE177246   DOJ 091
                              Legisla ve Changes: ID Requirements for
                              Vo ng by Mail, NASED Presenta on,
                              Secretary of State, February 2023.
 63             STATE 248     Texas Secretary of State – FAQs on            STATE001713   DOJ 073,
                              Applica ons for Ballot by Mail (ABBMs) –                    HAUL-MFV
                              Ingram April 26, 2022, Depo Ex. 11                          383, LUPE-
                                                                                          190, HAUL-
                                                                                          MFV 300
 64             STATE 252     Power Point Presenta on, Opportunity to       STATE059522   DOJ 074
                              Correct Defects on Applica on for Ballot
                              by Mail
                              and Carrier Envelope, of State, Secretary
                              February 2022.
 65             STATE 253     Power Point Presenta on, Training for         STATE124844   DOJ 082,
                              EVBB/SVC Members on New Ballot by                           HAUL-MFV
                              Mail                                                        301
                              Procedures, Secretary of State, April 2022.




120776374.1 0099831-00001
           Case 5:21-cv-00844-XR Document 753-9 Filed 09/05/23 Page 8 of 8




 Joint Ex. #    Previously    Description                                  Bates/Doc     Previously
                Identified                                                 Identifier    Identified
                State Ex. #                                                              Plaintiff Ex. #
 66             STATE 255     Power Point Presenta on, Training for        STATE124640   DOJ 088
                              EVBB/SVC Members on New Ballot by
                              Mail
                              Procedures: General Elec on for State and
                              County Oﬃcers, Secretary of State,
                              October
                              2022.
 67             STATE 259     2020 Elec on Administra on and Vo ng                       DOJ 141
                              Survey, U.S. Elec on Assistance
                              Commission. Exhibit 8 – April 7, 2023,
                              Dep. of Tammy Patrick.
 68             STATE 261     2018 Elec on Administra on and Vo ng         STATE114809   DOJ 142
                              Survey, U.S. Elec on Assistance
                              Commission.
 69             STATE 262     2016 Elec on Administra on and Vo ng                       DOJ 143
                              Survey, U.S. Elec on Assistance
                              Commission. Exhibit 6 – April 7, 2023,
                              Dep. of Tammy Patrick.
 70             STATE 286     Order, ECF 63, Hotze v. Hollins, No. 4:20-                 LULAC-027
                              CV-03709, (S.D. Tex. Nov. 2, 2020), aﬀ'd
                              in part, vacated in part sub nom. Hotze v.
                              Hudspeth, 16 F.4th 1121 (5th Cir. 2021).
                              (Exhibit 12 – May 6, 2022, Dep. of Chris
                              Hollins).




120776374.1 0099831-00001
